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     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
16
                     IN THE UNITED STATES DISTRICT COURT
17
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                  SOUTHERN DIVISION
19
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           ) MASIMO CORPORATION AND
21   a Delaware corporation                 ) CERCACOR LABORATORIES,
                                            ) INC.’S MEMORANDUM OF
22               Masimo,                    ) CONTENTIONS OF FACT AND
                                            ) LAW
23         v.                               )
                                            )
24   APPLE INC., a California corporation   )
                                            ) Pre-Trial Conf.:   10/28/2024
25               Defendant.                 ) Trial:             11/05/2024
                                            )
26                                          ) Hon. James V. Selna
                                            )
27
                        REDACTED VERSION OF DOCUMENT
28                      PROPOSED TO BE FILED UNDER SEAL
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1          Pursuant to this Court’s Order Re Joint Submission Regarding Positions on Trial
2    Scheduled [1943] dated April 16, 2024, (Dkt. 1944) and Local Rule 16-4, Masimo
3    Corporation and Cercacor Laboratories, Inc. (“Masimo”) respectfully submit the
4    following Memorandum of Contentions of Fact and Law for the trial scheduled to
5    commence on November 5, 2024.1
6                               I. SUMMARY OF THE CASE
7          Masimo alleges that Apple hired former Masimo employees and improperly
8    obtained from them Masimo trade secrets that Apple used to develop and market
9    products, as well as seek patents.
10
11
12                  Apple began trying to develop physiological monitoring technology. To
13   fast track its development, Apple identified and targeted physiological monitoring
14   companies. Apple recognized Masimo as
15                   Apple reached out to Masimo. Adrian Perica (Apple’s VP for corporate
16   acquisitions) told Masimo that Apple was considering
17                                                           Perica indicated Apple wanted to
18                                                                     The parties met. But,
19   instead of working with Masimo, Apple proceeded to hire Masimo employees. Apple
20   hired Michael O’Reilly (Masimo Corp.’s Chief Medical Officer), Marcelo Lamego
21   (Cercacor’s Chief Technical Officer), and                     other Masimo employees.
22
23              Apple also contacted Lamego              .
24
25   1
       This memorandum discusses the claims that currently exist in the case that are set for
26   trial on November 5, 2024. It does not discuss certain claims and issues that were
     dismissed from the case, such as the business and marketing trade secrets or Masimo’s
27   lost profits damages theory. Masimo is not abandoning any claims or issues that were
28   dismissed and reserves all rights to appeal such decisions.

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11                          Nevertheless, Apple hired Lamego in January 2014 and assigned
12   him to work on the Apple Watch. When Masimo found out about Lamego’s hiring,
13   Masimo warned Apple about Lamego’s knowledge of Masimo’s trade secrets. JTX 778,
14   1367. Despite these warnings, Apple did nothing to prevent Lamego from disclosing
15   Masimo’s trade secrets. Instead, Apple immediately sought out Masimo’s trade secrets.
16
17                                          Apple acquired, used, and disclosed Masimo’s
18   technical trade secrets during development of the Apple Watch. Apple also filed for
19   patent protection on Masimo’s technology, naming Lamego as the sole inventor on some
20   patent applications and a co-inventor on others. Apple disclosed Masimo’s trade secrets
21   in some of those applications, constituting additional misappropriation. Through those
22   patent applications, Apple asserts exclusive rights to Masimo technology that Masimo
23   employees invented. Those Masimo employees should be added as named inventors
24   and Masimo should be at least part owner of those patents.
25                II. MASIMO’S CLAIMS AND DEFENSES (L.R. 16-4.1)
26         Masimo accuses Apple of patent infringement, trade secret misappropriation, and
27   patenting subject matter invented by Masimo employees. This Court has subject matter
28   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a), 1367(a).
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1    A.    Summary of Masimo’s Claims (L.R. 16-4.1(a))
2    Claims 11-12:      Apple infringed Masimo’s patents.        The Court bifurcated these
3                       claims for trial at a later date. Dkt. 2062. Masimo reserves all rights
4                       with respect to its Claim 4.
5    Claim 13:          Apple violated the California Uniform Trade Secret Act, Cal. Civ.
6                       Code § 3246 et seq. by misappropriating Masimo’s trade secrets.
7    Claims 14 & 20:    One or more Masimo employees should be named as an inventor of
8                       subject matter claimed in, and Masimo is at least a joint owner of,
9                       U.S. Patent No. 10,078,052.
10   Claims 15 & 21:    One or more Masimo employees should be named as an inventor of
11                      subject matter claimed in, and Masimo is at least a joint owner of,
12                      U.S. Patent No. 10,247,670.
13   Claims 16 & 22:    One or more Masimo employees should be named as an inventor of
14                      subject matter claimed in, and Masimo is at least a joint owner of,
15                      U.S. Patent No. 9,952,095.
16   Claim 23:          Masimo is at least a joint owner of U.S. Patent No. 10,219,754.
17   Claims 26 & 28:    One or more Masimo employees should be named as an inventor of
18                      subject matter claimed in, and Masimo is at least a joint owner of,
19                      U.S. Patent No. 11,009,390.
20   B.    Elements Required to Establish Masimo’s Claims (L.R. 16-4.1(b))
21         1.    Claim 13: Apple’s Violation of the California Uniform Trade Secret
22               Act
23         Masimo will prove the following elements, by a preponderance of the evidence,
24   for each of Trade Secrets                           (“Asserted Trade Secret(s)”):
25         a.    Masimo developed or otherwise lawfully possessed the Asserted Trade
26               Secret;
27         b.    At the time of misappropriation, the Asserted Trade Secret derived actual
28               or potential independent economic value from not being generally known
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1                to the public or to other persons who can obtain economic value from its
2                disclosure or use, and was the subject of efforts that are reasonable under
3                the circumstances to maintain its secrecy;
4          c.    Apple improperly acquired, used, or disclosed the Asserted Trade Secret;
5          d.    Masimo was harmed, and/or Apple was unjustly enriched; and
6          e.    Apple’s acquisition, use, or disclosure was a substantial factor in causing
7                Masimo’s harm, and/or in causing Apple’s unjust enrichment.
8    Cal. Civ. Code § 3426.1.
9          Masimo may recover for Apple’s unjust enrichment from misappropriating
10   Masimo’s trade secrets. Cal. Civ. Code § 3426.3.
11         The amount of monetary relief need not be calculated with precision. Meister v.
12   Mensinger, 230 Cal. App. 4th 381, 396 (2014) (citing GHK Assoc. v. Mayer Grp. Inc.,
13   224 Cal. App. 3d 856, 873-874 (1990)). “The law requires only that some reasonable
14   basis of computation of damages be used, and the damages may be computed even if the
15   result reached is an approximation.” Id. “[E]very misappropriation of trade secrets case
16   requires a flexible and imaginative approach to calculating damages and [ ] each case is
17   controlled by its own peculiar facts and circumstances.” Huawei Techs. Co. Ltd. v.
18   Huang, 2019 WL 2395276, *4 (E.D. Tex. Jun. 6, 2019) (citing Univ. Computing Co. v.
19   Lykes-Youngstown Corp., 504 F.2d 518, 538 (5th Cir. 1974)).
20         Awarding unjust enrichment requires returning the value or benefit the defendant
21   received based on the misappropriation. Ajaxo Inc. v. E*Trade Grp. Inc., 135 Cal. App.
22   4th 21, 56 (2005). Unjust enrichment may be measured by disgorging defendant’s
23   improperly obtained profits. Id. at 37; Foster Poultry Farms, Inc. v . SunTrust Bank,
24   377 Fed. Appx. 665, 668-69 (9th Cir. 2010). These ill-gotten profits may be measured
25   by comparing sales of products connected to defendant’s misappropriation with sales
26   that are not connected to the misappropriation. Cacique, Inc. v. Robert Reiser & Co.,
27   169 F.3d 619, 623 (9th Cir. 1999) (comparing “sales of modified and unmodified”
28   products to determine unjust enrichment).       When accounting for profits on sales
                                               -4-
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1    attributable to use of a trade secret, “the plaintiff has the burden of establishing the
2    defendant’s sales; the defendant has the burden of establishing any portion of the sales
3    not attributable to the trade secret and any expenses to be deducted in determining net
4    profits.” Restatement (Third) of Unfair Competition § 45 cmt. f (1995).
5          The Court may award reasonable attorneys’ fees and costs if it finds willful and
6    malicious misappropriation. Cal. Civ. Code § 3426.4.
7          2.       Claims 14-16, and 28: Masimo employees are inventors of subject
8                   matter claimed in U.S. Patent No. 10,078,052; 10,247,670; 9,952,095;
9                   and 11,009,390
10         To prove that one or more Masimo employees should be named as inventors of
11   the patents, Masimo must prove by clear and convincing evidence that the omitted
12   inventor(s):
13         1.       Contributed to the conception of at least one limitation in at least one claim;
14                  and
15         2.       The contribution was not insignificant in quality when measured against
16                  the dimension of the full invention.
17   Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d 1290,
18   1297 (Fed. Cir. 2009); Ruling Meng v. Ching-Wu Paul Chu, 643 F. App’x 990, 994 (Fed.
19   Cir. 2016) (citing Acromed Corp. v. Sofamor Danek Grp., 253 F.3d 1371, 1379 (Fed.
20   Cir. 2001)).
21         3.       Claims 20-23, 26: Masimo is at least a joint owner of U.S. Patent
22                  No. 10,078,052; 10,247,670; 9,952,095; 10,219,754; and 11,009,390
23         To prove that Masimo has an ownership interest in the patents, Masimo must
24   prove, by a preponderance of the evidence, that:
25         1.       At least one inventor assigned to Masimo an interest in the patent; or
26         2.       At least one inventor made an inventive contribution to the patent at a time
27                  and under conditions that created an obligation to assign to Masimo any
28                  rights in such inventions.
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1    See 13B Fed. Proc. Forms § 52:407.50; 2 Chisum on Patents § 2.04[7][c][ii][A].
2    C.    Summary of Key Evidence Supporting Masimo’s Claims (L.R. 16-4.1(c))
3          1.    Claim 13: Trade Secret Misappropriation Under CUTSA
4                a.     Masimo’s Trade Secrets Were Subject to Reasonable Efforts to
5                       Maintain their Secrecy
6          Witnesses, for example, Kiani, Diab, Muhsin, Dalke, Poeze, Miller, and
7    Hammarth will testify about the steps Masimo has taken to keep trade secrets
8    confidential, proprietary, and secret at Masimo and Cercacor. Miller and Hammarth will
9    explain Masimo and Cercacor policies surrounding employment and confidentiality
10   agreements. JTX 769, 1674, 1675, 1676, 2262, 2263, 2266, 2388. Muhsin and
11   Hammarth will explain the IT practices to guard trade secrets and confidential
12   information. JTX 828, 2217, 2242, 2394, 2402, 2403, 2404, 2405, 2406, 2561, 2563,
13   2564. Kiani will explain the business practices, strategies, and procedures to identify
14   confidential information and protect it. Dalke, Diab, and Poeze will explain that they
15   understood and maintained company information as confidential. The witnesses will
16   further explain how Masimo derives independent economic value from maintaining the
17   secrecy of its trade secrets. In addition to these witnesses, Dr. Madisetti will further
18   explain his opinion that the steps Masimo takes to maintain secrecy are reasonable.
19         Masimo will also demonstrate, through Masimo’s confidential and employment-
20   related disclosures to Lamego, that Masimo exposed its trade secrets to him. The
21   witnesses, for example, Diab, will explain that Lamego had virtually unfettered access
22   to all resources at Masimo while at both Masimo and Cercacor. JTX 2557, 2560, 2565.
23   Kiani and Diab will also testify that Masimo exposed Lamego to product development
24   plans and analyses of the market for products.
25               b.     Trade Secret
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5                      i.     Masimo Possesses Trade Secret
6          Masimo witnesses, for example Diab and Kiani, will explain Masimo’s
7    development of Trade Secret      JTX 172. Diab will explain his laboratory notebooks
8    and                           JTX 881. Diab and Kiani will testify about recognizing
9
10                                                                                     Diab
11   will explain
12
13                                                          JTX 935, 936, 937. Diab will
14   explain his years of work on developing procedures, features, and techniques
15                                              JTX 938, 939, 940, 941. Diab, Kiani, and
16   other Masimo witnesses will also explain Lamego’s involvement in that research and
17   development. JTX 173, 881-83, 896-97, 899, 942.
18         Diab and Dalke will also explain how Masimo used
19
20
21            JTX 940, 941, 1016, 1028, 1040. Diab will explain Lamego’s involvement in
22   the development and use of this trade secret at Masimo. Dr. Madisetti will explain his
23   analysis of the evidence confirming that Masimo developed and uses Trade Secret     .
24                     ii.    Apple Improperly Acquired and Used Trade Secret
25         Madisetti will explain how Apple misappropriated Trade Secret      based on his
26   analysis of
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14                      iii.   Trade Secret      Derives Independent Economic Value
15                             From Not Being Generally Known
16         Kiani and Diab will explain the value that Masimo and Cercacor obtained because
17   of    not being generally known. Kiani and Diab will explain that Masimo realized the
18   importance of
19                                                       . Kiani and Diab will explain that
20   Masimo invested significant resources, both in dollars and research time, to develop its
21   technologies in this area. They will also explain the extensive exposure of Lamego to
22   what Masimo had learned and invested in
23         Dr. Madisetti will explain his opinion that Masimo’s decades of research and
24   development
25
26               Madisetti will also explain his analysis of publications and other documents,
27   particularly those identified by Apple during this litigation. Madisetti will explain that
28   those publications or other documents fail to show that      was generally known at the
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1    time of Apple’s misappropriation to the public or to other persons who can obtain
2    economic value from their disclosure or use.
3                c.     Trade Secret
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8                       i.    Masimo Possesses Trade Secret
9          Dalke and Diab will explain Masimo’s development of      JTX 827; 1644. Dalke
10   and Diab will explain the discovery of
11                                 Id. Dalke and Diab will explain Masimo’s investigation
12
13                                                                             . Id. Dalke
14   will explain how
15
16          JTX 827, 702, 703, 1927, 1082, 1929.       Diab will explain his emails and
17   communications with Marcelo Lamego explaining the problem and solutions discovered
18   by Dalke. JTX 1082, 704. Dalke, Muhsin, and Diab will explain that Masimo continues
19   to use and rely upon
20                                             . JTX 1085-1093. Dr. Madisetti will explain
21   his analysis of the evidence confirming that Masimo developed and uses Trade Secret
22
23                      ii.   Apple Improperly Acquired, Disclosed and Used Trade
24                            Secret
25         Dr. Madisetti will explain how Apple misappropriated Trade Secret     based on
26   his analysis of Apple testimony and documents
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1                                             .   Madisetti also will explain his analysis of
2    publications and other documents, particularly those identified by Apple during this
3    litigation. Madisetti will explain that those publications or other documents fail to show
4    that      was generally known at the time of Apple’s misappropriation to the public or to
5    other persons who can obtain economic value from their disclosure or use.
6                   d.    Trade Secret
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11                        i.    Masimo Possesses Trade Secret
12          Diab, Jeroen Poeze, and Madisetti will explain Masimo’s development of
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14                         Diab will explain his notebooks
15                                     JTX 798, P-0145. Diab and Kiani will explain the
16                                                                            . JTX 800, 806.
17   Diab will explain his work with Lamego in the early 2000s
18   Dalke will explain the development of
19                                 JTX 811, 827, 1951. Diab will explain the development of
20                                                                                            .
21   JTX 812, 878. The witnesses will explain the development of
22                                                                  JTX 827, 1951. Diab and
23   Kiani will explain Lamego’s exposure to
24                                                  JTX 828, 829.
25          Poeze will explain his work with Lamego at Cercacor on
26                       JTX 831, 832, 833, 1728. Poeze will explain his notebooks and
27   development documents regarding the                              JTX 832. Documents,
28   such as
                                                  -11-
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5                        iii.   Trade Secret      Derives Independent Economic Value
6                               From Not Being Generally Known
7          Kiani and Diab will explain the value that Masimo and Cercacor obtained because
8    of    not being generally known. Kiani and Diab will explain that Masimo invested in
9    research and development on
10                                                                                 Kiani and
11   Diab will explain that Masimo invested significant resources, both in dollars and
12   research time, to develop its technologies in this area.
13         Madisetti will explain his opinion that Masimo’s decades of research and
14   development
15
16                        Madisetti also will explain his analysis of publications and other
17   documents, particularly those identified by Apple during this litigation. Madisetti will
18   explain that those publications or other documents fail to show that      was generally
19   known at the time of Apple’s misappropriation to the public or to other persons who can
20   obtain economic value from their disclosure or use.
21                e.     Trade Secret
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25                       i.     Masimo Possesses Trade Secret
26         Diab, Poeze, and Madisetti will explain Cercacor’s development of
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1                    Poeze will explain the development of the            at Cercacor and his
2    work with Lamego on that project. JTX 831, 832, 833, 1728. Poeze will explain his
3    notebooks and development documents
4               Ex. 832. Poeze will also explain that Lamego explained
5                                                                                     Poeze’s
6    notebook
7
8                                     JTX 832. The notebook shows
9                               Diab will explain the advantages of
10
11           Poeze will explain the
12                                                               . Madisetti will explain that,
13   based on his review of the evidence, Masimo developed and possessed
14                      ii.   Apple Improperly Acquired, Disclosed and Used Trade
15                            Secret
16         Madisetti will explain how Apple misappropriated Trade Secret       . Masimo will
17   present supporting evidence through Apple testimony and documents such
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27         Apple filed a patent application that issued as U.S. Patent No. 10,219,754, naming
28   Lamego as the sole inventor. JTX 754, 795, 862, 1262. Madisetti will explain
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1                               . Madisetti will also explain
2                                                                  Additional Apple evidence
3    and testimony
4                                                 JTX 153, 189, 238, 239, 412, 413, 415, 875.
5                        iii.    Trade Secret      Derives Independent Economic Value
6                                From Not Being Generally Known
7          Kiani and Diab will explain the value that Masimo and Cercacor obtained because
8    of     not being generally known. Kiani, Diab and Poeze will explain that Masimo
9    invested in research and development on
10
11                 Kiani, Diab and Poeze will explain that Masimo invested significant
12   resources, both in dollars and research time, to develop its technologies in this area.
13         Madisetti will explain his opinion that Masimo’s decades of research and
14   development on
15
16                        Madisetti also will explain his analysis of publications and other
17   documents, particularly those identified by Apple during this litigation. Madisetti will
18   explain that those publications or other documents fail to show that        was generally
19   known at the time of Apple’s misappropriation to the public or to other persons who can
20   obtain economic value from their disclosure or use. Madisetti will also explain that none
21   of the evidence suggests that Apple gained knowledge of         from any of the identified
22   publications or documents.
23                f.     Trade Secret
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2                            JTX 832. The notebook and source code also
3                            JTX 832. The notebook and
4
5                                                                                JTX 832.
6
7                                                                                         .
8    Madisetti will explain that, based on his review of the evidence, Masimo developed and
9    possessed
10                     ii.     Apple Improperly Acquired, Disclosed and Used Trade
11                             Secret
12         Madisetti will explain that Apple disclosed Trade Secret
13   JTX 1262.
14                                                         Additional Apple evidence and
15   testimony from
16                                             JTX 153, 189, 238, 239, 412, 413, 415, 875.
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1                        iii.      Trade Secret      Derives Independent Economic Value
2                                  From Not Being Generally Known
3           Kiani and Diab will explain the value that Masimo and Cercacor obtained because
4    of      not being generally known. Kiani and Diab will explain that Masimo invested
5    in research and development on
6                                                                                    Kiani and
7    Diab will explain that Masimo invested significant resources, both in dollars and
8    research time, to develop its technologies in this area. Madisetti will explain his opinion
9    that Masimo’s decades of research and development
10
11                                                              Madisetti also will explain his
12   analysis of publications and other documents, particularly those identified by Apple
13   during this litigation. Madisetti will explain that those publications or other documents
14   fail to show that          was generally known at the time of Apple’s misappropriation to
15   the public or to other persons who can obtain economic value from their disclosure or
16   use.
17                g.     Apple Acquired Masimo’s Trade Secrets Through Improper
18                       Means And Knew or Should Have Known That Lamego
19                       Improperly Provided Masimo’s Trade Secrets
20          Masimo witnesses, including Kiani, will testify and provide documentary
21   evidence of informing Apple about the confidentiality obligations of Masimo and
22   Cercacor employees. Apple’s witnesses, including O’Reilly and Perica, will testify
23   regarding whether Apple knew or had reason to know Lamego was improperly providing
24   Masimo’s trade secrets to Apple.
25          Apple’s witnesses, including Hotelling, will testify
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4                                Apple’s acts regarding Masimo are consistent with Apple’s
5    history of efficient infringement and Steve Jobs’ statements “good artists copy; great
6    artists steal – and we have always been shameless about stealing great ideas” and “it’s
7    better to be a pirate than join the navy.” JTX 2814-2816.
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10                                                                 Perica and Kiani will also
11   testify that Apple met with Masimo in May 2013.
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22                                               Lamego offered to help solve Apple’s patient
23   monitoring problems in exchange for a senior executive position at Apple. Id. Lamego
24   also informed Cook of his high-level position at Cercacor and his access to Cercacor
25   confidential information.     Id.
26
27                                                         JTX 566 at -007; JTX 263 at -760
28                                       Kiani will testify regarding correspondence warning
                                                -20-
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1    Apple about Lamego’s knowledge of Masimo’s trade secrets. JTX 778. Despite the
2    warnings, Apple ultimately hired Lamego to work with the
3                                               JTX 1786 at 27.
4          Immediately after Lamego started at Apple,
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17         Madisetti will explain how Apple misappropriated Masimo’s trade secrets based
18   on the evidence summarized above for each of the Asserted Trade Secrets.
19         Lamego used Masimo’s trade secrets in the course of his employment and
20   disclosed those trade secrets to Apple in technical discussions, business discussions,
21   documents, and invention disclosures. Thus, Apple is also liable under the doctrine of
22   respondeat superior. Language Line Servs., Inc. v. Language Servs. Assocs., LLC, 2010
23   WL 2764714, at *3 (N.D. Cal. July 13, 2010).
24               h.     Masimo Was Harmed and Apple Was Unjustly Enriched by
25                      Apple’s Misappropriation
26         Kiani will testify to
27
28                                                                        Kiani will testify
                                               -21-
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3             In October 2013, Cercacor’s Chief Technical Officer, Marcelo Lamego emailed
4    Tim Cook. Lamego referenced his 10 years of experience at Masimo and Cercacor and
5    offered to solve Apple’s problems in exchange for a senior technical position. JTX 1719.
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13            But rather than collaborate, and                                       , Apple
14   promptly hired Lamego. After Lamego and O’Reilly began disclosing Masimo’s trade
15   secrets to Apple, Apple abandoned the business relationship with Masimo and decided
16   to not
17            Kiani will testify that
18
19
20                                        Kiani will testify that Apple
21
22              Masimo witnesses, including Kiani, Muhsin, Al-Ali, and Scruggs will testify
23   that Masimo later decided to                                           They will further
24   testify Masimo
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                                                 -23-
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1    They will also testify to development and manufacturing process planning for the
2            and the Masimo W1 Watch.
3           Kiani and Muhsin will testify that
4
5                   Kiani and Muhsin will testify to
6
7    Kiani, Muhsin, and Scruggs will testify that no technological barrier prevented Masimo
8    from designing                                                             They will further
9    testify that
10                                  . Kiani, Muhsin and Scruggs will also testify to the technical
11   capabilities and accuracy of the                                Jeff Kinrich will testify to
12   Apple’s unjust enrichment based on trade secret misappropriation. Madisetti will testify,
13   as described above, that Apple used Masimo’s technical trade secrets in
14
15                   i.    Apple’s conduct was willful and malicious
16          The evidence discussed above in the above sections also supports a finding that
17   Apple’s misappropriation was willful and malicious.
18          2.       Claim 14 & 20: Masimo employees are inventors of subject matter
19                   claimed in, and Masimo is at least a joint owner of, U.S. Patent
20                   No. 10,078,052
21          Masimo’s witnesses, for example, Diab, Kiani, and Poeze, will explain the
22   development of sensors.            and/or Madisetti
23                                                                   JTX 1227, 1214, and 1910.
24   Diab will also describe the design of the
25               JTX P-005, 777, 1222, 1223, 1225, and 1226. Diab and/or Madisetti will also
26   describe features disclosed in U.S. Patent Application No. 2006/0211924 and U.S.
27   Patent Publication No. 2010/0030040 and Diab’s 1992 Notebook. JTX 1206, 1207,
28   1227, 1267, 1910. Poeze and/or Madisetti will describe features disclosed in U.S. Patent
                                                  -24-
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1    Publication No. 2010/0030040 and U.S. Patent Application No. 2011/0082711. JTX
2    1207, 1205. Apple’s witnesses, including Ness and Han, will testify that none of the
3    named Inventors other than Lamego contributed the idea of incorporating a reflective
4    surface.
5          Witnesses including Kiani, Diab, Lamego, and Madisetti will explain that Masimo
6    employees, including Lamego, assigned to Masimo any interest in the patent or made an
7    inventive contribution at a time and under conditions that created an obligation to assign
8    to Masimo any rights in the patent.
9          Madisetti will explain his analysis of the evidence confirming that one or more
10   Masimo employees should be named as an inventor and Masimo is at least a joint owner
11   of U.S. Patent No. 10,078,052. JTX 1239.
12         3.     Claim 15 & 21: Masimo employees are inventors of subject matter
13                claimed in, and Masimo is a joint owner of, U.S. Patent
14                No. 10,247,670
15         Masimo’s witnesses, for example, Diab, Kiani, and Poeze, will explain the
16   development of sensors.
17              JTX 1214, and 1910. Diab will also describe the design of the TF-I sensor.
18   JTX P-005, 777, 1222, 1223, 1225, and 1226. Diab and/or Madisetti will also describe
19   features disclosed in U.S. Patent Application No. 2006/0211924 and U.S. Patent
20   Publication No. 2010/0030040 and Diab’s 1992 Notebook. JTX 1206, 1207, 1227,
21   1267, 1910. Poeze and/or Madisetti will describe features disclosed in U.S. Patent
22   Publication No. 2010/0030040 and U.S. Patent Application No. 2011/0082711. JTX
23   1207, 1205. Apple’s witnesses, including Ness and Han, will testify that none of the
24   named Inventors other than Lamego contributed the idea of incorporating a reflective
25   surface.
26         Witnesses including Kiani, Diab, Lamego, and Madisetti will explain that Masimo
27   employees, including Lamego, assigned to Masimo any interest in the patent or made an
28   inventive contribution at a time and under conditions that created an obligation to assign
                                               -25-
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1    to Masimo any rights in the patent.
2          Madisetti will explain his analysis of the evidence confirming that one or more
3    Masimo employees should be named as an inventor and Masimo is at least a joint owner
4    of U.S. Patent No. 10,247,670. JTX 1241.
5          4.     Claim 16 & 22: Masimo employees are inventors of subject matter
6                 claimed in, and Masimo is at least a joint owner of, U.S. Patent
7                 No. 9,952,095
8          Masimo’s witnesses, for example, Diab and/or Madisetti, will explain the
9    development of the sensor technology with filters and analog-to-digital converters. Diab
10   will describe the design of the TF-I sensor. JTX P-005, 777, 1222, 1223, 1225, and
11   1226. Diab and/or Madisetti will also describe the features disclosed in U.S. Patent No.
12   5,632,272 and U.S. Patent Publication No. 2006/0211924 and Diab’s 1992 Notebook.
13   JTX P-0139, 1206, 1214, 1267. Poeze will describe features disclosed in U.S. Patent
14   Publication No. 2010/0030040 and U.S. Patent Application No. 2011/0082711. JTX
15   1207, 1205. Apple’s witness, Hotelling, will testify that he does not know what he
16   contributed to this patent.
17         Witnesses including Kiani, Diab, Lamego, and Madisetti will explain that Masimo
18   employees, including Lamego, assigned to Masimo any interest in the patent or made an
19   inventive contribution at a time and under conditions that created an obligation to assign
20   to Masimo any rights in the patent.
21         Madisetti will explain his analysis of the evidence confirming that one or more
22   Masimo employees should be named as an inventor and Masimo is at least a joint owner
23   of U.S. Patent No. 9,952,095. JTX 1268.
24         5.     Claim 23: Masimo is at least a joint owner of, U.S. Patent
25                No. 10,219,754
26         Masimo’s witnesses, for example Diab and Poeze, will explain the development
27   of the sensor technology and Masimo’s Pronto-7 product
28                                                                                          In
                                               -26-
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1    addition, Poeze will describe features disclosed in his lab notebooks and his work with
2    Lamego on the Pronto-7 and its algorithms.
3          Witnesses including Kiani, Diab, Lamego, and Madisetti will explain that Masimo
4    employees, including Lamego, assigned to Masimo any interest in the patent or made an
5    inventive contribution at a time and under conditions that created an obligation to assign
6    to Masimo any rights in the patent.
7          Madisetti will explain his analysis of the evidence confirming that Masimo is at
8    least a joint owner of U.S. Patent No. 10,219,754. JTX 1262.
9          6.     Claim 26 & 28: Masimo employees are inventors of subject matter
10                claimed in, and Masimo is at least a joint owner of U.S. Patent
11                No. 11,009,390
12         Masimo’s witnesses, for example, Diab and Poeze, will explain the development
13   of the sensor technology with filters and analog-to-digital converters. Diab and/or
14   Madisetti will describe the design of the TF-I sensor. JTX P-005, 777, 1222, 1223,
15   1225, and 1226. Diab and/or Madisetti will also describe the technology disclosed in
16   U.S. Patent No. 5,632,272 and U.S. Patent Publication No. 2006/0211924 as well as
17   Diab’s 1992 Notebook. JTX P-0139, JTX 1206, 1214. Poeze and/or Madisetti will
18   describe features disclosed in U.S. Patent Publication No. 2010/0030040 and U.S. Patent
19   Application No. 2011/0082711. JTX 1207, 1205.
20         Witnesses including Kiani, Diab, Lamego, and Madisetti will explain that Masimo
21   employees, including Lamego, assigned to Masimo any interest in the patent or made an
22   inventive contribution at a time and under conditions that created an obligation to assign
23   to Masimo any rights in the patent.
24         Madisetti will explain his analysis of the evidence confirming that Masimo
25   employees should be named as an inventor and Masimo is at least a joint owner of U.S.
26   Patent No. 11,009,390. JTX 1269.
27   D.    Summary of Defendant Apple’s Affirmative Defenses
28         Affirmative Defense V: Laches. Apple alleges that Masimo has unjustifiably
                                               -27-
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1    delayed in asserting trade secret misappropriation and inventorship/ownership claims.
2          Affirmative Defense VII: Statute of Limitations. Apple alleges that Masimo’s
3    trade secret misappropriation claim is not timely under the relevant three-year statute of
4    limitations, and Masimo has failed to justify its delay in bringing the case.
5          Affirmative Defense XI: Waiver. Apple alleges that Masimo has unjustifiably
6    delayed in asserting their trade secret misappropriation and inventorship/ownership
7    claims.
8
9    E.    Elements Required to Establish Apple’s Affirmative Defenses (L.R. 16-
10         4.1(e))
11         1.     Affirmative Defense V: Laches
12         Apple must prove by a preponderance of the evidence that:
13         a. Masimo unreasonably delayed asserting or diligently pursuing a claim for
14              misappropriation of trade secrets; and
15         b. any delay prejudiced Apple.
16   See Johnson v. City of Loma Linda, 24 Cal. 4th 61, 68 (2000); Masimo Corp. v. True
17   Wearables, Inc., 2022 WL 17083396, at *20 (C.D. Cal. Nov. 7, 2022).
18         2.     Affirmative Defense VII: Statute Of Limitations
19         Apple must prove that Masimo, prior to January 9, 2017, either:
20         a. discovered the misappropriation, or
21         b. should have discovered the misappropriation if it exercised reasonable
22              diligence.
23   See Cal. Civ. Code § 3426.6; Dkt. 606 at 3; Klang v. Pflueger, 2014 WL 4922401, at *6
24   (C.D. Cal. July 10, 2014).
25         3.     Affirmative Defense XI: Waiver
26         Apple must prove by clear and convincing evidence that:
27         a.     Masimo intentionally relinquished its right to bring its claims after
28                knowledge of the facts.
                                                -28-
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1    See Cruz v. Nat'l Steel & Shipbuilding Co., 910 F.3d 1263, 1270 (9th Cir. 2018) (citing
2    Waller v. Truck Ins. Exchange, Inc. 11 Cal.4th 1, 31 (1995) as modified on denial of
3    reh'g (Oct. 26, 1995)); DRG/Beverly Hills, Ltd. v. Chopstix Dim Sum Cafe & Takeout
4    III, Ltd., 30 Cal. App. 4th 54, 60 (1994).
5    F.    Summary of Key Evidence Relied on in Opposition to Each Affirmative
6          Defense (L.R. 16-4.1(f))
7          1.     Affirmative Defense V: Laches
8          Masimo witness Kiani will testify regarding Masimo’s discovery of Apple’s
9    misappropriation. Kiani will testify regarding correspondence with Apple about a
10   potential collaboration and warning Apple about Lamego’s knowledge of Masimo’s
11   trade secrets. JTX 778, 1367. Kiani will also testify that
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13                                                       Masimo will elicit evidence that Lamego
14   assured Masimo in 2016 that
15                          JTX 2823. Masimo will elicit evidence showing that O’Reilly
16   remained on good terms with Kiani and others at Masimo for years. JTX 2824, 2825,
17   2826, 2827, 2828, 2829. Masimo will also elicit testimony from
18
19   JTX 771. Masimo will elicit evidence showing that Apple hid its misappropriation from
20   Masimo. JTX 521, 1242, 1723, 2832, 2833, 2834, 2835, 2836, 1520, 1897-1901, 1915,
21   1262, 1268. Kiani will also testify that Masimo could not have learned of any actionable
22   misappropriation until 2019 or later.
23         2.     Affirmative Defense VII: Statute Of Limitations
24         Apple’s allegations regarding statute of limitations appear to be the same as its
25   allegations for laches. The evidence refuting laches also refutes this defense.
26         3.     Affirmative Defense XI: Waiver
27         Apple’s allegations regarding waiver appear to be the same as its allegations for
28   laches. The evidence refuting laches also refutes this defense. Kiani will also testify
                                                  -29-
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1    that Masimo never relinquished its right to bring its claims.
2    G.       Third party’s statements (L.R. 16-4.1 (g))
3             N/A.
4    H.       Anticipated Evidentiary Issues (L.R. 16-4.1 (h))
5             The parties agreed to treat the Court’s prior in limine ruling as the baseline and
6    file motion(s) to modify the rulings. Masimo moved to vacate all in limine rulings if the
7    Court holds a bench trial or, alternatively, to modify the rulings to allow Masimo to
8    present evidence of Apple’s recruiting and hiring of Masimo employees other than
9    Lamego.
10   I.       Issues of Law (L.R. 16-4.1(i))
11            None before trial.
12                                 III. BIFURCATION (L.R. 16-4.3)
13            Trial on Masimo’s patent infringement Claims 11-12 has been bifurcated. Dkt.
14   2062. Masimo reserves all rights with respect to Claim 4.
15                                  IV. JURY TRIAL (L.R. 16-4.4)
16            The Court has ordered that the November 2024 trial will be a bench trial.
17                             V. ATTORNEYS’ FEES (L.R. 16-4.5)
18            Masimo seeks attorneys’ fees and costs from Apple under Cal. Civ. Code § 3426.4
19   for willful and malicious misappropriation of trade secrets.
20                       VI. ABANDONMENT OF ISSUES (L.R. 16-4.6)
21            Before the 2023 trial, Masimo agreed not to present the following trade secrets at
22   trial:
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2    Masimo also agreed not to present the following claims:
3          Claims 18 & 24:     One or more Masimo employees should be named as an
4                              inventor of subject matter claimed in, and Masimo is at least a
5                              joint owner of, U.S. Patent No. 9,723,997.
6          Claims 19 & 25:     One or more Masimo employees should be named as an
7                              inventor of subject matter claimed in, and Masimo is at least a
8                              joint owner of, U.S. Patent No. 10,524,671.
9          Claim 27:    Masimo is at least a joint owner of U.S. Patent Application
10                             No. 16/700,710.
11         During and after the 2023 trial, the Court granted judgment on the following trade
12   secrets:
13
14
15
16   Masimo has not abandoned these trade secrets and reserves all rights on appeal. See
17   supra note 1.
18         Masimo agrees not to present at the November 2024 trial Claim 17 (One or more
19   Masimo employees should be named as an inventor of subject matter claimed in U.S.
20   Patent No. 10,219,754).
21   ///
22   ///
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1                                         Respectfully submitted,
2                                         KNOBBE, MARTENS, OLSON & BEAR, LLP
3
4    Dated: October 15, 2024              By: /s/ Jared C. Bunker
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11                                                MASIMO CORPORATION and
                                                  CERCACOR LABORATORIES, INC.
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